     Case 1:24-cv-02184-TWT       Document 33    Filed 12/13/24   Page 1 of 14




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DESTINY KENNEDY,                             )
On behalf of herself and all                 )
Other Georgia citizens similarly situated,   )
                                             )
      Plaintiff,                             )
                                             )
             v.                              )     CIVIL ACTION NO.
                                             )     1:24-cv-02184-TWT
VGW HOLDINGS LIMITED, VGW                    )
MALTA LIMITED, VGW                           )
LUCKYLAND INC., and VGW GP                   )
LIMITED,                                     )
                                             )
      Defendants.                            )

     DEFENDANTS VGW LUCKYLAND AND VGW GP’S REPLY IN
      SUPPORT OF THEIR MOTION TO COMPEL ARBITRATION
        Case 1:24-cv-02184-TWT                   Document 33            Filed 12/13/24           Page 2 of 14




                                         TABLE OF CONTENTS

PRELIMINARY STATEMENT ...............................................................................1
ARGUMENT .............................................................................................................1
         A.       Plaintiff Accepted the December 2023 Terms ......................................1
         B.       Plaintiff’s Disputed, Evidence-Free Claim that She Opted Out
                  of Arbitration Under the December 2023 Terms is a Question
                  of Arbitrability that the Parties Expressly Delegated to the
                  Arbitrator ...............................................................................................3
         C.       If the Court Considers Arbitrability Itself, the Court Should
                  Compel Arbitration or, Alternatively, Grant Limited Expedited
                  Discovery and Order a Prompt Trial on the Issues of Arbitrability ......8
CONCLUSION ..........................................................................................................9




                                                            ii
        Case 1:24-cv-02184-TWT                    Document 33             Filed 12/13/24           Page 3 of 14




                                        TABLE OF AUTHORITIES

                                                                                                                   Page(s)
Cases

A.B. v. HRB Pro. Res., LLC,
   4:19-cv-00817-HFS, 2020 WL 12675572 (W.D. Mo. Mar. 25, 2020) ........5, 6, 7
Collett v. Ancestry.com DNA LLC,
  19-cv-03743-RS, 2019 WL 13253477 (N.D. Cal. Dec. 19, 2019) ...............5, 6, 7
Mennucci v. Randstad Pros. US, LLC,
  1:19-CV-4693-TWT, 2020 WL 10692705 (N.D. Ga. Aug. 11, 2020) ................ 2

Moreland v. 1st Franklin Fin. Corp.,
  2:23-CV-00038-SCJ, 2024 WL 2406858 (N.D. Ga. Apr. 4, 2024) ..................... 8
Mumin v. Uber Techs., Inc.,
  239 F. Supp. 3d 507 (E.D.N.Y. 2017) ..........................................................5, 6, 7

Parnell v. CashCall, Inc.,
  804 F.3d 1142 (11th Cir. 2015) ........................................................................ 3, 5

Statutes
9 U.S.C. § 4 ................................................................................................................ 8




                                                             iii
      Case 1:24-cv-02184-TWT      Document 33      Filed 12/13/24   Page 4 of 14




                         PRELIMINARY STATEMENT

      Plaintiff’s opposition confirms that her claims against VGW Luckyland and

VGW GP (together, “VGW”) must be sent to arbitration. The evidence establishes

that, after Plaintiff opted out of arbitration under the November 2023 Terms, she

accepted the December 2023 Terms nearly two months later. The December 2023

Terms include an arbitration agreement that expressly delegates all questions of

arbitrability to the arbitrator. Plaintiff does not challenge the delegation clause.

      Instead, Plaintiff intimates, without evidence, that she opted out of arbitration

under the December 2023 Terms. Putting aside that Plaintiff produced no evidence

or authority substantiating her bald assertion, Plaintiff’s disputed claim that she

opted out of arbitration under the December 2023 Terms is a question of arbitrability

that the parties expressly and exclusively delegated to the arbitrator. Because

Plaintiff has not challenged the delegation clause, the question of whether Plaintiff

opted out of arbitration under the December 2023 Terms must be decided by an

arbitrator, not this Court. Accordingly, Plaintiff’s claims against VGW must be

compelled to arbitration and all further proceedings against VGW must be stayed.

                                   ARGUMENT

A.    Plaintiff Accepted the December 2023 Terms

      As VGW demonstrated in its opening brief, Plaintiff opted out of arbitration

under the November 2023 Terms in late November 2023, but she then accepted the



                                           1
      Case 1:24-cv-02184-TWT       Document 33     Filed 12/13/24    Page 5 of 14




December 2023 Terms nearly two months later, in late January 2024, and she never

sent VGW an arbitration opt-out notice after accepting the December 2023 Terms.

Doc. 28-1 (“OB”) at 6-7; see also Doc. 28-2 (“Cavallaro Decl.”) ¶¶ 23-25, 36-38.

      In (falsely) claiming without evidence that she opted out of arbitration under

all versions of the Terms presented to her, Plaintiff argues that Ms. Cavallaro’s

November 14, 2024, declaration only states that Plaintiff “would have been

presented with a pop-up notice prompting her to confirm her acceptance” of the

December 2023 Terms. See Doc. 29 (“Opp’n”) at 3 (emphasis in original).

      To the extent Plaintiff is implying that she did not accept the December 2023

Terms, her statement—which is not supported by any evidence—is incorrect.

VGW’s business records confirm that Plaintiff accepted the December 2023 Global

Poker Terms on January 17, 2024, at 1:40 (UTC), and accepted the December 2023

Luckyland Terms on January 20, 2024, at 19:03 (UTC). See Supplemental

Declaration of Caterina Cavallaro in Support of Defendants’ Motion to Compel

Arbitration, dated November 13, 2024, ¶ 5;1 see also Cavallaro Decl. ¶¶ 24, 37.




1
 This Court can consider Ms. Cavallaro’s supplemental declaration, which is offered
to rebut Plaintiff’s factually incorrect suggestion in her opposition brief that she did
not accept the December 2023 Terms. Mennucci v. Randstad Pros. US, LLC, 1:19-
CV-4693-TWT, 2020 WL 10692705, at *2 (N.D. Ga. Aug. 11, 2020) (considering
supplemental reply declaration from defendant that provided time stamps of
plaintiffs’ acceptance of arbitration agreement, because it was “proffered to directly
respond to” plaintiffs’ claims that they never accepted the agreement) (Thrash, J.).

                                           2
      Case 1:24-cv-02184-TWT       Document 33     Filed 12/13/24    Page 6 of 14




B.    Plaintiff’s Disputed, Evidence-Free Claim that She Opted Out of
      Arbitration Under the December 2023 Terms is a Question of
      Arbitrability that the Parties Expressly Delegated to the Arbitrator

      Plaintiff does not dispute that the December 2023 Terms contain an arbitration

agreement that expressly delegates all questions of arbitrability to the arbitrator:

             [Y]ou and VGW Group each and both agree to resolve any
             Disputes including any Dispute concerning the
             enforceability, validity, scope or severability of this
             agreement to arbitrate through final and binding
             arbitration as discussed herein.

Cavallaro Decl., Exs. B, E § 24.2 (emphasis added); see also OB at 5.

      Where an arbitration agreement contains a delegation provision and the party

resisting arbitration does not challenge the delegation provision specifically, “courts

must treat the delegation provision ‘as valid under § 2 [of the FAA], and must

enforce it under §§ 3 and 4.’” Parnell v. CashCall, Inc., 804 F.3d 1142, 1146-47

(11th Cir. 2015) (quoting Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 72 (2010)).

      Here, Plaintiff does not challenge the delegation provision. Instead, Plaintiff

submitted a declaration in which she appears to claim, based on nothing but a bald

assertion, that she opted out of arbitration under the December 2023 Terms. See Doc.

29-1 ¶ 4. It is unclear whether Plaintiff is claiming that she submitted opt-out notices

to VGW after accepting the December 2023 Terms, or whether she is contending

that her opt-out notices under the November 2023 Terms were legally sufficient also

to opt her out of arbitration under the December 2023 Terms that she accepted nearly


                                           3
      Case 1:24-cv-02184-TWT       Document 33     Filed 12/13/24    Page 7 of 14




two months later.2 Regardless of which theory Plaintiff is advancing, whether

Plaintiff opted out under the December 2023 Terms is a question of arbitrability—

particularly the “enforceability” and “validity” of the “agreement to arbitrate” as to

Plaintiff’s claims in this case—that the parties expressly delegated to the arbitrator.

      Plaintiff’s assertion, based on nothing but her ipse dixit, that VGW updated

the Terms to trick players who previously opted out of arbitration (Opp’n at 3-4), is

both false and irrelevant. As Ms. Cavallaro stated in her November 14, 2024,

declaration, VGW generally updates its Terms two to three times per year, and the

December 2023 updates were expressly noticed to users in a pop-up notice that

summarized the material changes and provided a hyperlink to the December 2023

Terms. See Cavallaro Decl. ¶¶ 13, 24, 37. That Plaintiff chose not to read the changes

or opt out of arbitration after accepting the December 2023 Terms does not make

them a “trick.” In any event, Plaintiff’s (meritless) argument is for the arbitrator.

      Because Plaintiff has not challenged the delegation clause, her disputed claim

that she opted out of arbitration under the December 2023 Terms—which is



2
  VGW has no record of receiving any opt-out notices from Plaintiff after she
accepted the December 2023 Terms. See Cavallaro Decl. ¶¶ 25, 38. Plaintiff appears
to claim in her declaration that she did submit opt-out notices to VGW after
accepting the December 2023 Terms (Doc. 29-1 ¶ 4), but she has not produced any
such opt-out notices to VGW or this Court, which is telling given that Plaintiff
attached her opt-out emails under the November 2023 Terms as an exhibit to her
complaint. Compl., Ex. A. Had Plaintiff sent opt-out emails to VGW after accepting
the December 2023 Terms, she could and would have submitted them to the Court.

                                           4
      Case 1:24-cv-02184-TWT       Document 33      Filed 12/13/24   Page 8 of 14




unsupported by any evidence or legal authority—must be decided by the arbitrator,

not this Court. See Parnell, 804 F.3d at 1146-47; see also OB at 9-10 (citing cases

granting motions to compel arbitration where there was a dispute over whether

purported opt-outs were sufficient to opt out under operative arbitration agreement).

      The courts’ decisions in Mumin v. Uber Technologies, Inc., 239 F. Supp. 3d

507 (E.D.N.Y. 2017), A.B. v. HRB Professional Resources, LLC, 4:19-cv-00817-

HFS, 2020 WL 12675572 (W.D. Mo. Mar. 25, 2020), and Collett v. Ancestry.com

DNA LLC, 19-cv-03743-RS, 2019 WL 13253477 (N.D. Cal. Dec. 19, 2019), are

particularly instructive in that they rejected each of Plaintiff’s flawed arguments.

      In Mumin, the plaintiff opted out of arbitration under a prior version of the

parties’ agreement (the “April 2015 Agreement”), but then accepted an updated

version of the agreement (the “December 2015 Agreement”). 239 F. Supp. 3d at 524.

The arbitration provision delegated all issues of arbitrability to the arbitrator. Id. at

522. The plaintiff argued “that the Arbitration Provision of the December 2015

Agreement d[id] not apply to him because he notified [the defendant] of his intent

to opt out of arbitration in the prior April 2015 Agreement.” Id. at 524. The court

disagreed: it held that whether the plaintiff “expressed his intent to opt out of a prior

arbitral clause before agreeing to the December 2015 Agreement [was] irrelevant,”

as the delegation clause vested the arbitrator with the authority to rule on “any




                                           5
      Case 1:24-cv-02184-TWT       Document 33      Filed 12/13/24   Page 9 of 14




challenge” to the “enforceability, or applicability of the Arbitration Provision,”

including challenges based on an earlier-expressed intent to opt out. Id. at 524-25.

      In HRB Professional Resources, the plaintiff claimed that he sent the

defendant an arbitration opt-out notice, but the defendant countered that “its legal

department never received the opt-out form allegedly sent by” the plaintiff. 2020

WL 12675572, at *2. The court granted the defendant’s motion to compel arbitration

because the parties’ arbitration agreement contained a delegation clause, which the

plaintiff did not challenge, and therefore “[t]he question of whether [the plaintiff]

opted out of the Arbitration Agreement must be decided in arbitration.” Id. at *3.

      Finally, in Collett, the arbitration agreement in the terms at issue likewise

delegated arbitrability to the arbitrator. 2019 WL 13253477 at *1. The plaintiffs

purported to opt out of arbitration, but the defendant disputed the validity of the opt-

outs. Id. at *2-3. The plaintiffs argued that the validity of the opt-outs was a question

for the court, not an arbitrator, because the effectiveness of their purported opt-outs

was an issue of contract formation, not arbitrability. Id. The court disagreed because

“whether plaintiffs successfully opted out of the contract is an issue of contract

termination, not formation,” and “[i]ssues of termination, unlike issues of formation,

fall outside the scope of the district court’s jurisdiction under the FAA.” Id. at *3.

“Thus,” the court explained, “an arbitrator, not a court, must decide whether the opt-

out was valid.” Id. The court therefore compelled the claims to arbitration. Id. at *4.


                                           6
     Case 1:24-cv-02184-TWT       Document 33      Filed 12/13/24    Page 10 of 14




      The same result is required here. The evidence establishes that Plaintiff opted

out of arbitration under the November 2023 Terms, but she then accepted the

December 2023 Terms nearly two months later. The December 2023 Terms

expressly delegate all questions of arbitrability, including the enforceability and

validity of the arbitration agreement as to Plaintiff’s claims here, to the arbitrator.

      To the extent Plaintiff contends that her opt-outs under the November 2023

Terms were legally sufficient also to opt her out of arbitration under the December

2023 Terms, that is a question for the arbitrator, not this Court. See Mumin, 239 F.

Supp. 3d at 524-25. To the extent Plaintiff is claiming, without evidence, that she

sent VGW opt-out notices after accepting the December 2023 Terms (she did not),

that too is a question for the arbitrator, not this Court. See HRB Pro. Res., 2020 WL

12675572, at *3. Finally, Plaintiff did not argue that whether she opted out under the

December 2023 Terms is a question of contract formation that must be decided by

this Court. But even if she had, that argument would be incorrect because the validity

and effect of Plaintiff’s purported opt-outs is a question of arbitrability that the

parties expressly delegated to the arbitrator. See Collett, 2019 WL 13253477, at *3.

      Accordingly, pursuant to the express delegation clause in the arbitration

agreement, Plaintiff’s claims against VGW must be compelled to arbitration and this

action must be stayed as to VGW. See supra at 3-7; see also OB at 7-10.




                                           7
     Case 1:24-cv-02184-TWT       Document 33     Filed 12/13/24   Page 11 of 14




C.    If the Court Considers Arbitrability Itself, the Court Should Compel
      Arbitration or, Alternatively, Grant Limited Expedited Discovery and
      Order a Prompt Trial on the Issues of Arbitrability

      Even if the Court disregards the delegation clause and decides arbitrability

itself (which VGW respectfully submits would be error), the Court should compel

Plaintiff’s claims to arbitration because Plaintiff has not raised a genuine dispute of

fact regarding her acceptance of the December 2023 Terms or the arbitrability of her

claims. See supra at 2-4. Indeed, the uncontroverted evidence establishes that

Plaintiff accepted the December 2023 Terms (compare Cavallaro Decl. ¶¶ 24, 37,

and Cavallaro Supp. Decl. ¶ 5, with Doc. 29-1 ¶ 4), and she did not send VGW any

opt-out notices after accepting the December 2023 Terms (compare Cavallaro

Decl. ¶¶ 25, 38, with Doc. 29-1 ¶ 4). See Moreland v. 1st Franklin Fin. Corp., 2:23-

CV-00038-SCJ, 2024 WL 2406858, at *4 (N.D. Ga. Apr. 4, 2024) (compelling

claims to arbitration because plaintiffs failed to raise a “genuine dispute of fact” as

to their agreement to arbitrate where defendant submitted “an uncontroverted

declaration” confirming that plaintiffs accepted the arbitration agreement at issue).

      But even if the Court were to find there is a genuine dispute of fact as to

whether Plaintiff accepted the December 2023 Terms or opted out of arbitration

under the December 2023 Terms (there is not), the Court should permit limited

expedited discovery and order an immediate trial on those issues. See 9 U.S.C. § 4




                                          8
     Case 1:24-cv-02184-TWT       Document 33       Filed 12/13/24   Page 12 of 14




(“If the making of the arbitration agreement or the failure, neglect, or refusal to

perform the same be in issue, the court shall proceed summarily to the trial thereof.”).

                                   CONCLUSION
      For the reasons set forth above and in VGW’s opening brief, this Court should

compel Plaintiff’s claims against VGW Luckyland and VGW GP to arbitration and

stay all further proceedings against them in this Court pending arbitration.

Dated: December 13, 2024                       Respectfully submitted,
                                               /s/ Michael A. Sullivan
 OF COUNSEL:                                   Michael A. Sullivan
                                               Georgia Bar No. 691431
 Gregory D. Beaman (pro hac vice)              Nicole Archambault
 Orrick, Herrington & Sutcliffe LLP            Georgia Bar No. 222686
 51 West 52nd Street                           FINCH McCRANIE, LLP
 New York, NY 10019-6142                       229 Peachtree St. NE, Suite 2500
 Tel: (212) 506-5000                           Atlanta, Georgia 30303
 gbeaman@orrick.com                            Tel: (404) 658-9070
                                               msullivan@finchmccranie.com
 Behnam Dayanim (pro hac vice)                 narchambault@finchmccranie.com
 Orrick, Herrington & Sutcliffe LLP
 2100 Pennsylvania Avenue NW                   Attorneys for Defendants VGW
 Washington, D.C. 20037                        Holdings Ltd., VGW Malta Ltd., VGW
 Tel: (202) 339-8613                           Luckyland Inc., and VGW GP Ltd.
 bdayanim@orrick.com




                                           9
    Case 1:24-cv-02184-TWT     Document 33     Filed 12/13/24   Page 13 of 14




    RULE 7.1D CERTIFICATE OF TYPE, FORMAT AND FONT SIZE

      Under Local Rule 7.1D, the undersigned certifies that this submission to the

Court was computer-processed, double-spaced between lines, and prepared with 14-

point Times New Roman font.

                                            /s/ Michael A. Sullivan




                                       10
     Case 1:24-cv-02184-TWT      Document 33     Filed 12/13/24     Page 14 of 14




                         CERTIFICATE OF SERVICE

      I hereby certify that I have on December 13, 2024, served the within and

foregoing document by efiling using the Court’s electronic filing system, which will

automatically forward a copy to counsel of record in this matter.

                                             /s/ Michael A. Sullivan
                                             Michael A. Sullivan
                                             Georgia Bar No. 691431
                                             Nicole Archambault
                                             Georgia Bar No. 222686
                                             FINCH McCRANIE, LLP
                                             229 Peachtree St. NE, Suite 2500
                                             Atlanta, Georgia 30303
                                             Tel: (404) 658-9070
                                             msullivan@finchmccranie.com
                                             narchambault@finchmccranie.com

                                             Attorneys for Defendants VGW
                                             Holdings Ltd., VGW Malta Ltd., VGW
                                             Luckyland Inc., and VGW GP Ltd.




                                        11
